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 7   Attorneys for Plaintiffs
     David E. Roberts and Joyce Roberts
 8

 9

10                         IN THE UNITED STATES DISTRICT COURT

11                           NORTHERN DISTRICT OF CALIFORNIA

12

13    IN RE: ROUNDUP PRODUCTS                      MDL No. 2741
      LIABILITY LITIGATION                         Case No. 3:16-md-02741-VC
14
                                                   NOTICE OF MOTION AND MOTION TO
15    This document relates to:                    TRANSFER VENUE IN THE INTEREST
                                                   OF JUSTICE (28 USC § 1404(a)), OR IN
16    David E. Roberts, an individual, and Joyce   THE ALTERNATIVE, TO TRANSFER
      Roberts, and individual, v. Monsanto Com-    FOR IMPROPER VENUE (28 USC §
17    pany, Case No. 3:24-cv-02055                 1406(a))

18                                                 Date: August 15, 2024
                                                   Time: 10:00 a.m. (in-person)
19                                                 Judge: Hon. Vince Chhabria
                                                   Dept.: Ctrm 4 – 17th Floor
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      NOTICE OF MOTION AND MOTION TO TRANSFER VENUE IN THE INTEREST OF JUSTICE (28 USC § 1404(A)),
                        OR IN THE ALTERNATIVE, TO TRANSFER FOR IMPROPER VENUE (28 USC § 1406(A))
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 1                                          NOTICE OF MOTION
 2           TO THE COURT, THE PARTIES AND ALL ATTORNEYS OF RECORD:
 3
             PLEASE TAKE NOTICE THAT on August 15, 2024, at 10:00 a.m. or as soon thereafter
 4
     as the matter may be heard in courtroom 4 of the Northern District of California, Honorable
 5
     Vince Chhabria, located at 450 Golden Gate Avenue, San Francisco, CA 94102, Plaintiffs David
 6

 7   E. Roberts and Joyce Roberts, will and hereby do move this Court pursuant to 28 USC § 1404(a)

 8   to transfer this action to the Southern District of California in the interests of justice and judicial

 9   economy, or in the alternative, to transfer to said district pursuant to 28 USC § 1406(a).
10
             This motion is made in response to Defendant’s Monthly Case Report Re Non-Compliant
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     Lawsuit Directly Filed in This District (ECF No. 17) and Defendant’s allegations in its Answer
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     (ECF No. 12) that the case was improperly filed in this district. There is no dispute that jurisdic-
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     tion over Defendant is appropriate in this case and Plaintiffs further maintain that venue is inde-
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15   pendently proper in this district pursuant to 28 USC § 1391(b)(1), (c)(2), (d). They also consent

16   to their case being tried in this district. Nevertheless, setting aside Plaintiff’s choice of venue—a
17   fundamental right plaintiffs exercise in deciding where to bring a lawsuit—for purposes of this
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     motion and to avoid unnecessary and prolonged dispute on a procedural venue issue given De-
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     fendant’s objection, Plaintiffs concede that the case be transferred to the Southern District of Cali-
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     fornia and seek such a transfer from this Court.
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       NOTICE OF MOTION AND MOTION TO TRANSFER VENUE IN THE INTEREST OF JUSTICE (28 USC § 1404(A)),
                         OR IN THE ALTERNATIVE, TO TRANSFER FOR IMPROPER VENUE (28 USC § 1406(A))
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 1          This motion is based on this Notice of Motion, the Memorandum of Points and Authori-
 2   ties and the Declaration of Courtney Vasquez filed and served herewith, and upon the papers, rec-
 3
     ords and pleadings on file herein.
 4

 5                                               Respectfully submitted,

 6   Date: June 20, 2024                         ELLIS RICCOBONO, LLP

 7                                               /s/_Courtney Vasquez____________
                                                 COURTNEY VASQUEZ
 8                                               Attorneys for Plaintiffs
                                                 David E. Roberts and Joyce Roberts
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      NOTICE OF MOTION AND MOTION TO TRANSFER VENUE IN THE INTEREST OF JUSTICE (28 USC § 1404(A)),
                        OR IN THE ALTERNATIVE, TO TRANSFER FOR IMPROPER VENUE (28 USC § 1406(A))
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 1                        MEMORANDUM OF POINTS AND AUTHORITIES
 2          I.      INTRODUCTION
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            Plaintiffs David E. Roberts and Joyce Roberts (“Plaintiffs”) hereby move to transfer the
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     case to the Southern District of California, which district the case could have been brought, to avoid
 5
     unnecessary and prolonged dispute on a procedural venue issue given Defendant Monsanto Com-
 6

 7   pany’s (“Defendant”) objection. Plaintiffs are eager to proceed to the merits of their important case

 8   and respectfully request that their motion to transfer the action to the Southern District of California

 9   be granted.
10
            Plaintiff David E. Roberts was a landscaper and was exposed to Roundup® on a weekly
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     basis spraying properties in and around San Diego County, California from approximately 2003
12
     through 2019. In September 2019, Mr. Roberts was diagnosed with non-Hodgkin Lymphoma. His
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     life has tragically been consumed with difficult and painful cancer treatments since.
14

15          On April 4, 2024, Plaintiffs (husband and wife) who are San Diego County residents filed

16   the present action in the Northern District of California seeking damages for the injuries they suf-
17   fered because of Mr. Roberts’ use and exposure to Roundup®. (ECF No. 1.) Plaintiffs maintain
18
     that venue is independently proper and consent to having their case tried in this district. However,
19
     Defendant objects to venue. (ECF No. 12, 17.)
20
            To avoid unnecessary and prolonged dispute on a procedural venue issue given Defendant’s
21

22   objection, Plaintiffs concede that the case be transferred to the Southern District of California for

23   purposes of the relief sought by this motion. Thus, Plaintiffs hereby seek to transfer this action to

24   the Southern District of California, where the case could have been brought. Plaintiffs’ motion to
25   transfer the action should be granted in the interests of justice.
26
            II.     PROCEDURAL BACKGROUND
27
            On April 4, 2024, Plaintiffs (husband and wife) who are San Diego County residents filed
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      NOTICE OF MOTION AND MOTION TO TRANSFER VENUE IN THE INTEREST OF JUSTICE (28 USC § 1404(A)),
                        OR IN THE ALTERNATIVE, TO TRANSFER FOR IMPROPER VENUE (28 USC § 1406(A))
      Case 3:16-md-02741-VC Document 18665 Filed 06/20/24 Page 5 of 9



 1   the present action in the Northern District of California seeking damages for injuries caused by Mr.
 2   Roberts’ exposure to and use of Roundup. (ECF No. 1.) Plaintiffs maintain that venue is inde-
 3
     pendently proper pursuant to 28 USC § 1391 given that there is no question that the Court has
 4
     personal jurisdiction over Defendant in this case and Plaintiffs allege that Defendant’s contacts in
 5
     this district are sufficient to establish residency for purposes of venue. 28 USC § 1391(b)(1), (c)(2),
 6

 7   (d); (Declaration of Courtney Vasquez (“Vasquez Decl.”), ¶ 2.) Plaintiffs also consent to their case

 8   being tried in the Northern District of California, which they believe is in the interests of judicial

 9   economy so that their case is decided by the Judge handling the multi-district litigation who is
10
     intimately familiar with factual and legal issues. (Id.)
11
            However, Defendant objects to venue in this district. Defendant filed its answer and alleged
12
     that the case “was improperly filed directly into the Northern District of California despite the
13
     absence of proper venue in this court, a violation of PTO 183 (ECF. No. 7196, Oct. 28, 2019).”
14

15   Defendant did not challenge personal jurisdiction (nor could it). (ECF No. 12). On May 31, 2024,

16   Defendant filed its Monthly Case Report Re Non-Compliant Lawsuit Directly Filed in This District
17   again arguing that Plaintiffs’ complaint violates PTO 183. (ECF No. 17.)
18
            Thereafter, counsel for Plaintiffs sought to meet and confer with counsel for Defendant
19
     regarding venue. (Vasquez Decl., ¶ 5.) Plaintiffs explained their understanding that PTO No. 183
20
     involved multi-out-of-state plaintiff complaints where there was no basis for personal jurisdiction
21

22   or venue whatsoever, which is not the case, here. (Id.) Plaintiffs further explained their position

23   that jurisdiction and venue were independently appropriate in this district, but in the interest of

24   justice and judicial efficiency and to avoid unnecessary and prolonged dispute, Plaintiffs were will-
25   ing to agree to seek a transfer of this action. (Id.) Counsel for Plaintiffs prepared a Stipulation and
26
     Proposed Order to transfer the case to the Southern District of California. (Id.)
27
            On June 12, 2024, Defendant responded and admitted that “[p]ersonal jurisdiction is not an
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      NOTICE OF MOTION AND MOTION TO TRANSFER VENUE IN THE INTEREST OF JUSTICE (28 USC § 1404(A)),
                        OR IN THE ALTERNATIVE, TO TRANSFER FOR IMPROPER VENUE (28 USC § 1406(A))
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 1   issue here” but continued to object to venue. (Vasquez Decl. ¶ 7.) Defendant deemed the Southern
 2   District of California the “proper court” for venue. (Id.) Curiously, however, Defendant would not
 3
     agree to stipulate to a transfer, and instead demanded that Plaintiffs dismiss the present case and
 4
     re-file. (Id.) This motion follows.
 5
            III.    THE COURT SHOULD TRANSFER THE CASE IN THE INTERESTS OF
 6

 7                  JUSTICE

 8          Pursuant to both 28 U.S.C. §§ 1404(a) and 1406(a), a district court may transfer a civil

 9   action to any district where the case could have been filed originally in the interest of justice. Thus,
10
     whether venue is proper in this district or not, the predominant inquiry is whether transfer serves
11
     the interests of justice. 28 U.S.C. §§ 1404(a). 1406(a). It does, and Plaintiffs’ motion to transfer
12
     should be granted.
13
            This case could have been brought in the Southern District of California. Plaintiffs are
14

15   residents of San Diego County. (ECF No. 1, ¶ 8.) Plaintiff David Roberts was a landscaper and

16   was exposed to Roundup® on a weekly basis spraying properties with Roundup in and around
17   California from approximately 2003 through 2019. (Id. ¶ 9.) Mr. Roberts was diagnosed with non-
18
     Hodgkin Lymphoma in San Diego County and received treatment for his injuries in San Diego
19
     County, California. (Vasquez Decl. ¶ 8.) Thus, there is no question that this case could have been
20
     brought in the Southern District of California, and Defendant agrees. (ECF Nos. 12 and 17;
21

22   (Vasquez Decl. ¶ 8).)

23          However, transfer is the appropriate response, not the dismissal that Defendant demands.

24   “Transfer is preferred to the harsh remedy of dismissal because it avoids any statute of limitations
25   problems and the necessity of filing and serving a new action.” Lum v. Carnival Cruise Lines, No.
26
     C-97-2241-VRW, 1998 WL 118188, at *2 (N.D. Cal., Feb. 27, 1998 (citing Minnette v. Time
27
     Warner, 997 F.2d 1023, 1026–27 (2nd Cir.1993)); Carter v. Reese, No. C 12-5537 MMC, 2013
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      NOTICE OF MOTION AND MOTION TO TRANSFER VENUE IN THE INTEREST OF JUSTICE (28 USC § 1404(A)),
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 1   WL 1149812, at *2 (N.D. Cal., Mar. 19, 2013) (quoting 15 Charles A. Wright, Arthur R. Miller &
 2   Edward H. Cooper, Federal Practice and Procedure § 3827 (3d ed.2011)) (noting “in most cases of
 3
     improper venue the courts conclude that it is in the interest of justice to transfer to a proper forum
 4
     rather than to dismiss the litigation”). “In deciding whether to transfer rather than dismiss the case
 5
     outright, the court considers the basic equities of the case. Such equities include: (1) judicial econ-
 6

 7   omy and whether another action would necessarily be filed, (2) any statute of limitations bar and

 8   whether, because of such bar, dismissal is overly harsh, and (3) the relative injustice imposed on

 9   the parties.” Lum, 1998 WL 118188, at *2 (citing King v. Russell, 963 F.2d 1301, 1304–05 (9th
10
     Cir.1992)).
11
            All equities favor transfer under the circumstances of this case. Judicial economy is served
12
     by simply transferring the case to the Southern District of California in which all Parties agree
13
     venue would be appropriate. Economies are not served by filing and serving a new action. See
14

15   Lum, 1998 WL 118188, at *2.

16          In addition, the interests of justice strongly favor transfer and not dismissal. Defendant
17   contends that PTO No. 183 requires dismissal. But Plaintiffs do not read PTO No. 183 to create
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     any such rule that a case must be dismissed and cannot be transferred to a proper district under the
19
     circumstances presented here which are unlike the circumstances presented by the plaintiffs under
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     PTO No. 183 where multiple out-of-state plaintiffs sought to file directly in the district where there
21

22   was no basis for jurisdiction or venue whatsoever. Further, the requirement of dismissal under PTO

23   No. 183 would abrogate established legislation and case law that permits transfer in the interests of

24   judicial economy and justice.
25          Defendant’s resistance to agree to transfer the action to the very venue it maintains is proper
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     can be for no other reason than to try to create a statute of limitations issue given the previous
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     tolling agreement with former counsel or otherwise harass Plaintiffs. (Vasquez Decl. ¶ 9.) Given
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      NOTICE OF MOTION AND MOTION TO TRANSFER VENUE IN THE INTEREST OF JUSTICE (28 USC § 1404(A)),
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 1   that dismissal could create an unnecessary and potentially harsh remedy, Plaintiffs hereby seek to
 2   transfer this action to the Southern District of California, where the case could have been brought
 3
     and to which Plaintiffs agree to have their case tried to avoid unnecessary dispute over a procedural
 4
     venue issue. Lum, 1998 WL 118188, at *2; Carter, 2013 WL 1149812, at *2.
 5
             IV.     CONCLUSION
 6

 7           For all the foregoing reasons, Plaintiffs respectfully request that the Court grant Plaintiffs’

 8   motion to transfer the action to the Southern District of California in the interests of justice pursuant

 9   to 28 USC § 1404(a)) or, in the alternative, 28 USC § 1406(a).
10
                                                     Respectfully submitted,
11
     Date: June 20, 2024                             ELLIS RICCOBONO, LLP
12
                                                     /s/_Courtney Vasquez____________
13                                                   COURTNEY VASQUEZ
                                                     Attorneys for Plaintiffs
14                                                   David E. Roberts and Joyce Roberts
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      NOTICE OF MOTION AND MOTION TO TRANSFER VENUE IN THE INTEREST OF JUSTICE (28 USC § 1404(A)),
                        OR IN THE ALTERNATIVE, TO TRANSFER FOR IMPROPER VENUE (28 USC § 1406(A))
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 1                                      CERTIFICATE OF SERVICE

 2          I certify that on the 20th of June 2024, I electronically transmitted the foregoing
 3   document to the Clerk of the court using the ECF system for filing and transmittal of a true and
 4   correct copy of the foregoing document was served electronically or by another manner as
 5   authorized by FED. R. CIV. P. 5.
 6
                                                 /s/_Courtney Vasquez____________
 7                                               COURTNEY VASQUEZ
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      NOTICE OF MOTION AND MOTION TO TRANSFER VENUE IN THE INTEREST OF JUSTICE (28 USC § 1404(A)),
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